          Case 8:19-ap-01069-SC                   Doc 13 Filed 07/18/19 Entered 07/18/19 07:32:59                                     Desc
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address

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      Individual appearing without attorney
      Attorney for Plaintiffs

                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:
                                                                             CASE NO.: 8:19-bk-10153-SC
 THOMAS JOSEPH LYNCH,                                                        CHAPTER: 7
                                                                             ADVERSARY NO: 8:19-ap-01069-SC
                                                              Debtor(s).
 OC WEST, LLC, a Montana limited liability company;
 LIBERTY FINANCIAL USA, LLC, A Delaware Limited
 Liability Company; and LIBERTY DEBT SOLUTION,
 LLC, a Nevada Limited Liability Company,
                                                                             NOTICE OF LODGMENT OF ORDER OR
                                                             Plaintiff(s),   JUDGMENT IN ADVERSARY PROCEEDING
                                   vs.                                       RE: STATUS CONFERENCE AND
                                                                             SCHEDULING ORDER PURSUANT TO LBR
 THOMAS JOSEPH LYNCH,
                                                                             7016-1(a)(4)

                                                            Defendant.




PLEASE TAKE NOTE that the order or judgment titled STATUS CONFERENCE AND SCHEDULING ORDER PURSUANT TO LBR
7016-1(a)(4) was lodged on July 18, 2019 and is attached. This order relates to the motion which is docket number 1.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      Debtor(s) appearing without attorney
      Attorney for: Plaintiffs

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                      CASE NO.: 8:19-bk-10153-SC

 THOMAS JOSEPH LYNCH,                                                        CHAPTER: 7
                                                                             ADVERSARY NO: 8:19-ap-01069-SC
                                                              Debtor(s)
                                                                                 STATUS CONFERENCE AND SCHEDULING
 OC WEST, LLC, a Montana limited liability company;
 LIBERTY FINANCIAL USA, LLC, A Delaware Limited
                                                                                  ORDER PURSUANT TO LBR 7016-1(a)(4)
 Liability Company; and LIBERTY DEBT SOLUTION,
 LLC, a Nevada Limited Liability Company,                                    DATE: 7/17/2019
                                                                             TIME: 10:00 am
                                                              Plaintiff(s)   COURTROOM: C5
                                    vs.                                      ADDRESS: 411 West Fourth Street, Santa Ana, CA

 THOMAS JOSEPH LYNCH,
                                                          Defendant(s)

1.   A status conference took place on the date and time indicated above.
2.   Parties and counsel were present as reflected in the court record.
3.   This matter is disposed of as follows:
     a. Continued to the following date for a further status conference: 10-2-2019 at 11:00am
     b. A joint status report must be filed and served, including a judge’s copy, by 9-19-2019
     c. No discovery cutoff deadline has been scheduled yet because the parties are not at issue
     d. No pretrial hearing has been scheduled yet
     e. Other provisions:
        1. Defendant's Motion to Dismiss Complaint pursuant to 11 USC § 523 (A), & 11 USC § 727(a) and Other
             Grounds for Failure to State a Claim (Item 18.00) is denied as to:
                 i.   1st Cause of Action:11 U.S.C. § 523(a)(2)(A);
                ii.   2nd Cause of Action: 11 U.S.C. § 523(a)(2)(B);
               iii.   3rd Cause of Action: 11 U.S.C. § 523(a)(4);


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              iv.     4th Cause of Action: 11 U.S.C. § 523(a)(6);
                v.    6th Cause of Action: 11 U.S.C. § 727(a)(2)(A);
              vi.     7th Cause of Action: 11 U.S.C. § 727(a)(2)(B);
              vii.    9th Cause of Action: 11 U.S.C. § 727(a)(4)(A)
       2.   Plaintiffs have leave to amend the Complaint until 8-16-2019 as to the following causes of action (should
            Plaintiffs decide not to amend a particular cause of action, a blank space is to indicate that the cause of action
            is "omitted"):
                 i.   5th Cause of Action: CA. Bus. & Prof. Code § 17200;
                ii.   8th Cause of Action: 11 U.S.C. § 727(a)(3) to please sufficient facts: "concealing, destroying,
                      mutilating, falsifying, or failing to keep or preserve any recorded information from which debtor's
                      financial condition or business transactions might be ascertained;"
               iii.   10th Cause of Action: 11 U.S.C. § 727(a)(4)(D) to please sufficient facts: "withholding from an officer
                      of the estate any recorded information, including books, documents, records, and papers, relating to
                      a debtor's property or financial affairs.; &
              iv.     11th Cause of Action: 11 U.S.C. § 727(a)(5) to please sufficient facts: "failure to explain satisfactorily
                      any loss of assets or deficiency of assets to meet the debtor's liabilities;"
                v.    12th Cause of Action: 11 U.S.C. § 727(a)(12)(B) to plead sufficient facts: "There are pending
                      proceedings including state and federal criminal investigations in which there is reasonable cause to
                      believe that Defendant may be found guilty of a felony."
       3.   Defendant's request for attorneys’ fees is denied.
       4.   As to the Status Conference (Item 18.10), Defendant to file a response to Plaintiffs' First Amended Complaint
            by 9-13-2019.
                                                                        ###




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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                               4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
7/18/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Patrick O’Kennedy (DB)                okennedylaw@gmail.com, r55095@notify.bestcase.com
Karen S Naylor (TR)                   alane@ringstadlaw.com, knaylor@IQ7technology.com
US Trustee (SA)                       ustpregionl6.sa ecf@usdoj.gov




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 7/18/2019, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 7/18/2019, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Scott C. Clarkson, 411 West Fourth Street, Suite 5130, Santa Ana, CA 92701-4593




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 7/18/2019                   Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                        Printed Name                                                    Signature




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